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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

CHAPRECIOUS TRABUE                                                                         Plaintiff

v.                                                        Civil Action No. 3:24-cv-277-RGJ-CHL

LOUISVILLE/JEFFERSON COUNTY
METRO GOVERNMENT, et al.                                                                Defendants

                                            * * * * *

                           MEMORANDUM OPINION & ORDER

       Defendants Louisville/Jefferson County Metro Government (“Louisville Metro”), Saja

Salman (“Salman”), Juan Ochoa (“Ochoa”), and Jerry Collins (“Collins”) (collectively

“Defendants”) move to dismiss this case in part. [DE 6]. Plaintiff Chaprecious Trabue (“Trabue”)

responded [DE 9] and Defendants replied [DE 10]. For the reasons below, Defendants’ motion,

which the Court construes as a motion for partial judgment on the pleadings, is GRANTED.

                                       I. BACKGROUND

       Salman and Ochoa were correctional officers at Louisville Metro Department of

Corrections (“LMDC”). [DE 1-2 at 9]. Collins was LMDC’s director. [Id.]. According to Trabue’s

complaint, on April 12, 2023, she was arrested on state charges and booked into LMDC. [Id. at

10]. The next day, while still in LMDC custody, Trabue alleges she was subjected to excessive

force by Salman and Ochoa after multiple requests to the officers for toilet paper in order to use

the restroom. [Id. at 11–13]. Specifically, she alleges that Salman forcibly snatched her and, while

both were on the ground, wrapped her arms around Trabue’s neck preventing her ability to breath.

[Id. at 12]. She further alleges that Ochoa tased Trabue while her hands were secured and then

instructed Salman to release her tight grip on Trabue’s neck. [Id. at 13]. Trabue asserts she was

tased a second time before being “violently shoved” by Ochoa into a concrete wall causing “her
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left eye to spit [sic] opened [sic] and bleed from the impact.” [Id.]. After Trabue expressed intent

to lodge a complaint against the officers, she was moved to “a single cell commonly known as the

‘Hole.’” [Id. at 14–15]. As a result of the altercation, Trabue was charged with felony assault. [Id.

at 15]; accord Ky. Rev. Stat. § 508.025. She posted bond and was released. [DE 1-2 at 15]. LMDC,

after being subpoenaed for video footage of the altercation, claimed that the footage had been lost

or did not exist. [Id. at 16–18]. Trabue asserts that Salman’s and Ochoa’s actions violated

Defendants’ use-of-force policies. [Id. at 19]. She also alleges that this incident fits a broader

pattern of excessive force being used at LMDC. [Id. at 19–22].

       Trabue filed suit in Jefferson Circuit Court in April 2024. The complaint names Salman,

Ochoa, and Collins both “individually” and in his or her “official capacity” and also sues Louisville

Metro directly. [Id. at 6]. There are six numerated causes of action. Trabue asserts Section 1983

claims of (I) “Monell-related cause of action” against Louisville Metro, (II) rights “violations”

against Salman and Ochoa, and (III) “failure to train and supervise” against Louisville Metro and

Collins. [Id. at 22–28]. She also asserts state-law claims of (IV) “negligent supervision and

training” against Collins, (V) “negligence” against Collins, and (VI) “assault and battery” against

Salman and Ochoa. [Id. at 28–31]. The complaint seeks compensatory and punitive damages, as

well as recovery of Trabue’s costs and fees. [Id. at 31–32].

       Defendants removed the case under this Court’s federal-question and supplemental

jurisdiction. [DE 1 at 1]. With the instant motion, they seek partial dismissal of Trabue’s complaint.

[DE 6 at 71]. Defendants also have answered the complaint [DE 7], and the parties have begun

pretrial discovery [DE 14].

                                          II. STANDARD

       Defendants’ motion is styled as a Rule 12(b)(6) motion to dismiss “for failure to state a

claim.” [DE 6 at 71]. Because they have answered Trabue’s complaint, the motion is considered


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one for judgment on the pleadings.1 See McGlone v. Bell, 681 F.3d 718, 728 n.2 (6th Cir. 2012);

accord Fed. R. Civ. P. 12(c). The same legal standard applies. United Food & Com. Workers, Loc.

1995 v. Kroger Co., 51 F.4th 197, 202 (6th Cir. 2022). “[A]ll well-pleaded material allegations of

the [complaint] must be taken as true, and the motion may be granted only if the moving part[ies

are] nevertheless clearly entitled to judgment.” Saalim v. Walmart, Inc., 97 F.4th 995, 1001 (6th

Cir. 2024) (quoting Moderwell, 997 F.3d at 659). Any “legal conclusions or unwarranted factual

inferences” in the complaint do not control. Id. (quoting Moderwell, 997 F.3d at 659); see also

Bishop v. Lucent Techs., Inc., 520 F.3d 516, 519 (6th Cir. 2008).

                                          III. ANALYSIS

       Defendants’ motion asks the Court to dismiss Trabue’s official-capacity claims against

Salman, Ochoa, and Collins, as well as Trabue’s state-law claims to the extent they implicate

Louisville Metro. [DE 6 at 71].

    A. Official-Capacity Claims

       Direct claims against a governmental entity and official-capacity claims against its officers

are generally redundant. Kentucky v. Graham, 473 U.S. 159, 165–66 (1985); Monell v. New York

City Dept. of Social Services, 436 U.S. 658, 690 n.55 (1978). “[S]uing a municipal officer in his

official capacity for a constitutional violation pursuant to 42 U.S.C. § 1983 is the same as suing

the municipality itself.” Lopes v. Louisville-Jefferson Cnty. Metro Gov’t, No. 3:23-CV-503-DJH,

2024 WL 4218016, at *7 (W.D. Ky. Sept. 17, 2024) (quoting Kraemer v. Luttrell, 189 F. App’x

361, 366 (6th Cir. 2006). Therefore, “official-capacity claims against individual officers are

‘superfluous’ when the governmental entity is also named.” Id. (quoting Faith Baptist Church v.

Waterford Twp., 522 F. App’x 322, 327 (6th Cir. 2013)); see also Scott v. Louisville/Jefferson


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 Defendants may seek partial judgment on the pleadings. E.g. Threat v. City of Cleveland, Ohio, 6 F.4th
672, 676 (6th Cir. 2021); Moderwell v. Cuyahoga Cnty., Ohio, 997 F.3d 653, 658 (6th Cir. 2021).


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Cnty. Metro Gov’t, 503 F. Supp. 3d 532, 541 (W.D. Ky. 2020) (collecting cases). In Faith Baptist

Church, the Sixth Circuit affirmed the dismissal of official-capacity claims against an individual

agent because the governmental entity for which he was a prosecuting attorney was also a named

defendant under Section 1983. 522 F. App’x at 327.

       Here, Defendants argue that Trabue’s claims—to the extent they are official-capacity

claims against Salman, Ochoa, and Collins—are “duplicative” because Louisville Metro is also a

named defendant. [DE 6-1 at 74]. Trabue concedes that the official-capacity claims “should be

dismissed.” [DE 9 at 86, 88]. Accordingly, Trabue’s official-capacity claims against Salman,

Ochoa, and Collins are dismissed as a matter of law.

   B. State-Law Claims

       “Federal courts must apply state substantive law, including immunities, when dealing with

supplemental state law claims.” Shepherd v. Floyd Cnty., Kentucky, 128 F. Supp. 3d 976, 980

(E.D. Ky. 2015) (citing Erie R. Co. v. Tompkins, 304 U.S. 64, 80 (1938)). Relevant here, Kentucky

law extends the state’s sovereign immunity to its counties. Lexington-Fayette Urb. Cnty. Gov’t v.

Smolcic, 142 S.W.3d 128, 132 (Ky. 2004). As a “consolidated local government,” Louisville Metro

enjoys that “same sovereign immunity.” Ky. Rev. Stat. § 67C.101(2)(e); see also Jewish Hosp.

Healthcare Servs., Inc. v. Louisville/Jefferson Cnty. Metro Gov’t, 270 S.W.3d 904, 907 (Ky. App.

2008). This Court has recognized Louisville Metro’s immunity numerous times. E.g. Chelsey

Nelson Photography, LLC v. Louisville/Jefferson Cnty. Metro Gov’t, 624 F. Supp. 3d 761, 807

(W.D. Ky. 2022) (“[A]lthough the federal Constitution doesn’t extend sovereign immunity to

counties, Kentucky law does.”); Sistrunk v. City of Hillview, 545 F. Supp. 3d 493, 505–06 (W.D.

Ky. 2021); Daugherty v. Louisville-Jefferson Cnty. Metro Gov’t, 495 F. Supp. 3d 513, 519–20

(W.D. Ky. 2020). In short, unless an “explicit statutory waiver” by Kentucky’s General Assembly




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covers Trabue’s state-law claims, Louisville Metro is immune to those claims. See Jewish Hosp.

Healthcare Servs., 270 S.W.3d at 907; accord Ky. Const. § 231.

        Defendants invoke Louisville Metro’s sovereign immunity. [DE 6 at 71]. They argue that

Trabue’s state-law claims, to the extent they are claims against Louisville Metro, “must be

dismissed as a matter of law.”2 [DE 10 at 91]. In response, Trabue argues that Ky. Rev. Stat.

§ 49.060 constitutes a legislative waiver of qualified immunity and permits her two state-law

negligence claims (Counts IV and V) to proceed. [DE 9 at 88–89]. She makes no similar argument

regarding her state-law assault and battery claim (Count VI).

        The statute Trabue cites is part of the Board of Claims Act.3 The Act “constitutes a limited

waiver of the Commonwealth’s right of sovereign immunity.” Findley, 690 S.W.3d at 178 (citing

Commonwealth Transp. Cabinet Dep’t of Highways v. Abner, 810 S.W.2d 504, 504 (Ky. 1991)).

But for two reasons, that limited waiver does not apply here.

        First, the Act is an “administrative scheme” for seeking damages through an administrative

process, not a civil cause of action. Brabson v. Floyd Cnty. Bd. of Educ., 862 F. Supp. 2d 571, 577

(E.D. Ky. 2012). It “[a]llow[s] negligence claims to proceed in the Board of Claims,” not in federal

court. Letcher Cnty. Bd. of Educ. v. Hall, 671 S.W.3d 374, 380 (Ky. 2023) (emphasis added). “The

Act created an entity to investigate [claims] and compensate people.” Shepherd, 128 F. Supp. 3d

at 978. In the provision which Trabue quotes, the Act “waives the sovereign immunity defense

only in the limited situations as herein set forth” and “otherwise expressly preserve[s] the

sovereign immunity of the Commonwealth.” Ky. Rev. Stat. § 49.060 (emphases added).




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  On its face, Trabue’s complaint appears to contain no state-law claims against Louisville Metro directly.
Counts IV and V implicate Collins; Count VI implicates Salman and Ochoa. [DE 1-2 at 28–31].
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  In 2017, the Act was recodified as Chapter 49 of the Kentucky Revised Statutes. Findley v. W. Kentucky
Univ., 690 S.W.3d 170, 178 n.7 (Ky. App. 2024).


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         Second, counties—and by extension, consolidated local governments—are “specifically

exempted” from the Act’s limited waiver of immunity. Shepherd, 128 F. Supp. 3d at 978 (citing

Commonwealth of Ky. Bd. of Claims v. Harris, 59 S.W.3d 896, 900 (Ky. 2001)). Indeed, the Act

permits administrative claims against “the Commonwealth, any of its cabinets, departments,

bureaus, or agencies, or any of its officers, agents, or employees while acting within the scope of

their employment,” but not counties or consolidated local governments. Ky. Rev. Stat. § 49.060;

see also Bd. of Claims of Kentucky v. Banks, 31 S.W.3d 436, 439 (Ky. App. 2000) (“[T]he Board

of Claims Act does not vest jurisdiction in the Board of Claims over counties.”).

         In short, Ky. Rev. Stat. § 49.060 is not the type of express legislative waiver that would

permit state-law negligence claims to proceed against Louisville Metro in federal court. See Jewish

Hosp. Healthcare Servs., 270 S.W.3d at 907. The Act does not provide carte blanche to sue

Louisville Metro for negligence as Trabue argues. Cf. Napper v. Hankison, 617 F. Supp. 3d 703,

750 (W.D. Ky. 2022). Louisville Metro is immune to Trabue’s state-law claims.

                                       IV. CONCLUSION

         For these reasons, Defendants’ motion to dismiss [DE 6], which the Court construes as a

motion for partial judgment on the pleadings, is GRANTED. Trabue’s official-capacity claims

against Salman, Ochoa, and Collins are DISMISSED. Trabue’s state-law claims, to the extent they

are claims directly against Louisville Metro, are DISMISSED. Trabue’s Section 1983 claims

against Louisville Metro and the individual-capacity defendants, as well as her state-law claims

against the individual-capacity defendants, remain.




 December 10, 2024




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